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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

     UNITED STATES OF AMERICA

     vs.                                          CASE NO. 6:07-CR-151-ORL-19KRS

     OSCAR JAVIER CASTANO

                                              ORDER

             This case having been considered by the Court on Report and Recommendation

     Concerning Plea of Guilty (Doc. No. 62, filed October 13, 2007) and no objection thereto

     having been filed, it is ORDERED:

             1.     The Report and Recommendation of the United States Magistrate Judge (Doc.

     No. 62) is ACCEPTED, AFFIRMED AND ADOPTED.

             2.     Defendant Oscar Javier Castano has entered a plea of guilty to Count One of

     the Indictment knowingly, intelligently and voluntarily. Such plea is accepted, and

     Defendant is adjudicated guilty of Count One of the Indictment.

             3.     Ruling on acceptance of the Amended Plea Agreement (Doc. No. 58, filed

     October 31, 2007) is deferred until the time of sentencing.

             DONE AND ORDERED at Orlando, Florida, this            5th      day of November,

     2007.




     Copies to:
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     Assistant United States Attorney
     Attorney for Defendant
     United States Marshal
     United States Probation
     United States Pretrial Services
     Defendant
     Courtroom Deputy
